SZ§Z-BSE-Olv Elclo:> VElHV Eozlz an-l.\avw ‘Eluowu.~lvq LH:~|H,LS ElJ.L:-uw_.{ '3 109

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'001110 S1q1 mol; Aeu1011e ue 0pn10u: 0990 51q1 BU1A10Au1

eBpng 9 q11m eAQq mci 1Qq1 SU011901Unmw00 Aue 1911 1515u1

1snm 1 'A11901106010d909 '10npu00 pu@ exnpeooxd 10 Se1n1

pa111ss 01 501p1000€ paeooxd 1Snw 0011961111 51q1 'x@AQmoq

‘01qe110;501 31 u01119u00 19019£qd xnoL '1001100u;

012 alaq p011n000 Seq 1qu 10 su011ez11010919q0 lnoA pue
'Sseu111 Au@ p0u5101 mci 1Eq1 pew1910 leAeu eAeq 1

'pzp 10A0u
no£ 1nq ’z10w 05pnp 01 101101 0q1 am 01 xe; p1n0m nOA 1eq1
p01901pu1 mci 'A110011p nOA q11m eqods pue u;QBQ p01190
1 '11@0 1Qq1 u1n101 01 p011@; nOA 1011V 'QEQSSSM 0u0qd®101
0u0 n0£ 0A901 1 pyp '011; 0q1 paxoaqo QM 10119 A1UO
'1u0301d 10a sam 101101 0q1 1nq ’0111 11n00 0q1 paq00q0
am ‘1sanbal JnOA egodd0 p1n0m 1 1Qq1 p01901pu1 ISASU eAeq
1 'u011910p13u00 01Qm111601 9 91 SFqL 'JQpIO s,e§pnp 0q1
p91dm01d qa:qm 1Senbel 6u1£110pun eq1 Mouq 01 1uem ’SSanD
10 'QM 'A1dex 01 0m11 1Qu011;ppe UQ 100110 anA pepue1xe
peq pay 'nOK wol; 101101 9 p0A10001 peq eq 1Pq1 6u11901pu1
z10W QBpup wol; lepx@ ue SQM peA;eDel st 1Qq1 11V '11
9A10091 010w111eg 10 A113 9q1 101 SASU1011Q p;p lou 101101
0q1 p0A10001 xeAeu SJ:Q;;V 19501 10 00;110 0q1 1nq '1191
A1u191100 31 130nbal 1eq1 '1u0110 anA 10 11Qq0q UO 1011q
9 0111 01 q01qm u1 0m11 19u0111pp9 EUTHQQS Alenxqeg 0191
up z10w QBpnp 01 101101 9 0101m noA ’0A1100dsled lno molg
'€003 '91 qox@m p01@p 101101 lno£ 10 1d10001 u1 wE 1

:sepuexg 'JN leaa

GSOE”ZO*WJP
'1€ 10 syxon 'A HDPN aaa

S6OIZ qu1AIQN 'mn1u0m11
peog 00013 1103 9313

'bsg ’Sapuelg 0119001£

vzvo-rs§ (0Iv)
SITWFSDEJ EFA

EOOZ 'OZ UDIQW

lo£Ie]/\[
AE["I’IVIN‘O NI.LHVW

HCENO|SSIW'WOO H{)l’IOd

lN{'II/\ILHV¢IHG HOI'IO¢I E[HOIAII.L'IVE[

   

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ZD,O]/\I §[D`[.`.I.Sp@ld '_[‘ 'T.IOH :DD

101101103 0191003$V
UQw110H 'A pxem

1117 /1

'A10100u13

'1011Qm
S1q1 10 S1110w 011 mci q11m Ssn091p A1q901w9 01 01qe11eAQ
SAQM1Q me 1 1eq1 Mouq p1n0qs no£ '1u0A0 iue u1

'z10W eBpnp 01 191101 9003 'Lz Alenlqeg xnoA 10 Adoo

9 am 01 1uas nOA 1Qq1 5003 '11 qolew 111un 1,usem 11 1Qq1

:1ue1xodw1 s1 1@qm Aq pexnseem eq p1n0qs 191 an1 10npu00

umo 1005 pue 1011@1 xnoA 10 0u01 0q1 '101101 0q1 pues@l

A1dm1s 01 epew sam 130nb01 2 1011@ 'xeq10 qoee q11m Bu1190p
u150q p1n0qs 1asun00 1911 AQM 0q1 A1pxeq 31 S1q1

'p91uPlB ueaq eAQq p1n0m 11 ’puodsex 01
0m11 1eu0111ppe 001110 1n0 m011 p0150n501 10A0 no£ pQH

'Sxe11em 0A11ue1sqns 10 191np0001d
q11m 5u1190p 5101101 '01 p911w11 10a 51 1nq 'Sepn10u1 S1q1

z 069&

EOOZ ‘oz uOle
'bsg 'Sepuexg 0110p011

